                Case: 1:18-cv-05876 Document #: 44 Filed: 10/11/18 Page 1 of 2 PageID #:15609
AO 440 (Rev. 05/00) Summons in a Civil Action



                                       UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF ILLINOIS



                                                                           SUMMONS IN A CIVIL CASE
LUXOTTICA GROUP S.p.A. and OAKLEY,
INC.
                                                                 CASE NUMBER:       18-cv-05876
                                V.                               ASSIGNED JUDGE:
                                                                                    John Robert Blakey
 ZHENG ZE, et al.                                                DESIGNATED
                                                                 MAGISTRATE JUDGE: Maria Valdez


                    TO: (Name and address of Defendant)
       Zheng Ze and all other Defendants identified in the Amended Complaint




          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

                 Greer, Burns & Crain, Ltd.
                 Amy C. Ziegler
                 Justin R. Gaudio
                 RiKaleigh C. Johnson
                 300 South Wacker Drive, Suite 2500
                 Chicago, Illinois 60606
                                                                               21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                    October 5, 2018
     (By) DEPUTY CLERK                                                              DATE
                 Case: 1:18-cv-05876 Document #: 44 Filed: 10/11/18 Page 2 of 2 PageID #:15609
AO 440 (Rev. 05/00) Summons in a Civil Action
                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me(1)                        October 11, 2018
NAME OF SERVER (PRINT)                                                                  TITLE
RiKaleigh C. Johnson                                                                    Attorney of Record
   Check one box below to indicate appropriate method of service

          G Served personally upon the defendant. Place where served:




          G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
            discretion then residing therein.
              Name of person with whom the summons and complaint were left:

          G Returned unexecuted:




                                   I electronically published the Amended Complaint ,TRO, Summons and other relevant documents on a
          x Other (specify):
          G
              website to which the Defendant Domain Names will redirect. I sent an e-mail to the e-mail addresses identified in the Exhibits 5 and

              6 to the Declaration of Jason Groppe and any e-mail addresses provided for Defendants by third parties that includes a link to said website.




                                                            STATEMENT OF SERVICE FEES
TRAVEL                                                SERVICES                                                   TOTAL



                                                              DECLARATION OF SERVER

                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct.

                                                                                                           Digitally signed by RiKaleigh Johnson

          Executed on     October 11, 2018                      RiKaleigh Johnson                          DN: cn=RiKaleigh Johnson, o, ou, email=rjohnson@gbc.law, c=US
                                                                                                           Date: 2018.10.11 13:38:12 -05'00'

                                        Date                    Signature of Server



                                                                300 South Wacker Drive, Suite 2500, Chicago, Illinois 60606
                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
